                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO

Civil Action No. 1:22-cv-2198

 SWIRLATE IP LLC,

                        Plaintiff,                     JURY TRIAL DEMANDED
    v.
                                                       PATENT CASE
 VIASAT, INC.,
      a Delaware Corporation

                        Defendant.


                ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT



         Plaintiff Swirlate IP LLC files this Original Complaint for Patent Infringement against

ViaSat, Inc., and would respectfully show the Court as follows:

                                        I. THE PARTIES

         1.     Plaintiff Swirlate IP LLC (“Swirlate” or “Plaintiff”) is a Texas limited liability

company having an address at 6009 W Parker Rd, Ste 149 – 1090, Plano, TX 75093-8121.

         2.     On information and belief, Defendant ViaSat, Inc. (“Defendant”) is a corporation

organized and existing under the laws of Delaware, with a place of business at 349 Inverness Drive

South, Englewood, CO 80112, and registered agent at C T Corporation System, 7700 E Arapahoe

Rd. Ste 220, Centennial, CO 80112.

                               II. JURISDICTION AND VENUE

         3.     This action arises under the patent laws of the United States, Title 35 of the United

States Code. This Court has subject matter jurisdiction of such action under 28 U.S.C. §§ 1331

and 1338(a).




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        4.     On information and belief, Defendant is subject to this Court’s specific and general

personal jurisdiction, pursuant to due process and the Colorado Long-Arm Statute, due at least to

its business in this forum, including at least a portion of the infringements alleged herein.

Furthermore, Defendant is subject to this Court’s specific and general personal jurisdiction because

Defendant maintains places of business at 349 Inverness Drive South, Englewood, CO 80112 and

58 Inverness Drive East, Englewood, CO 80112.

        5.     Without limitation, on information and belief, Defendant has derived revenues from

its infringing acts occurring within Colorado. Further, on information and belief, Defendant is

subject to the Court’s general jurisdiction, including from regularly doing or soliciting business,

engaging in other persistent courses of conduct, and deriving substantial revenue from goods and

services provided to persons or entities in Colorado. Defendant has committed such purposeful

acts and/or transactions in Colorado such that it reasonably should know and expect that it could

be haled into this Court as a consequence of such activity.

        6.     Venue is proper in this district under 28 U.S.C. § 1400(b). On information and

belief, Defendant maintains places of business at 349 Inverness Drive South, Englewood, CO

80112 and 58 Inverness Drive East, Englewood, CO 80112. On information and belief, from and

within this District Defendant has committed at least a portion of the infringements at issue in this

case.

        7.      For these reasons, personal jurisdiction exists and venue is proper in this Court

under 28 U.S.C. § 1400(b).

                              III. COUNT I
        (PATENT INFRINGEMENT OF UNITED STATES PATENT NO. 7,154,961)

        8.     Plaintiff incorporates the above paragraphs herein by reference.




                                                 2
       9.      On December 26, 2006, United States Patent No. 7,154,961 (“the ‘961 Patent”) was

duly and legally issued by the United States Patent and Trademark Office. The ‘961 Patent is titled

“Constellation Rearrangement for ARQ Transmit Diversity Schemes.” A true and correct copy of

the ‘961 Patent is attached hereto as Exhibit A and incorporated herein by reference.

       10.     Swirlate is the assignee of all right, title, and interest in the ‘961 patent, including

all rights to enforce and prosecute actions for infringement and to collect damages for all relevant

times against infringers of the ‘961 Patent. Accordingly, Swirlate possesses the exclusive right

and standing to prosecute the present action for infringement of the ‘961 Patent by Defendant.

       11.     The invention in the ‘961 Patent relates to the field of Automatic Repeat reQuest

(“ARQ”) transmission techniques in wireless communication systems. (Ex. A at col. 1:6-8). In

particular, it relates to a method for transmitting data using transmit diversity schemes in which

data packets are transmitted using a first and second transmission based on a repeat request and

the bit-to-symbol mapping is performed differently for different transmitted diversity branches.

(Id. at col. 1:8-12). The inventors recognized a problem in prior art of the use of ARQ transmission

techniques in wireless communication systems with unreliable and time-varying channel

conditions and the invention results in an improved performance avoiding transmission errors. (Id.

at col. 1:12-15).

       12.     In telecommunications, in order to improve the reliability of data transmissions, the

prior art had several transmit diversity techniques in which redundant versions of identical data

are transmitted in at least two diversity branches by default without explicitly requesting further

diversity branches. (Id. at col. 1:19-24). Such transmit diversity techniques included (i) site

diversity (transmitted signal originates from different sites), (ii) antenna diversity (transmitted

signal originates from different antennas), (iii) polarization diversity (transmitted signal is mapped




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onto different polarization), (iv) frequency diversity (transmitted signal is mapped on different

carrier frequencies or frequency hopping sequences), (v) time diversity (transmitted signal is

mapped on different interleaving sequences), and (vi) multicode diversity (transmitted signal is

mapped on different codes). (Id. at col. 1:24-42). The diversity branches would then be combined

in order to improve the reliability of the received data. These diversity combining techniques

included (a) selection combining (selecting the diversity branch with the highest Signal-to-Noise

Ratio (“SNR”) for decoding and ignoring the remaining ones), (b) equal gain combining

(combining received diversity branches with ignoring the differences in received SNR), and (c)

maximum ratio combining (combining received diversity branches taking the received SNR of

each diversity branch into account).

       13.     The prior art also had techniques for error detection/correction with respect to the

transmission of data. For example, the prior art would use ARQ schemes together with Forward

Error Correction (FEC),1 which is called hybrid ARQ (“HARQ”). If an error is detected within a

packet by the Cyclic Redundancy Check (“CRC”), the receiver requests that the transmitter send

additional information (e.g., retransmission) to improve the probability to correctly decode the

erroneous packet. (Id. at col. 1: 59-63).

       14.     The ‘961 discussed a particular prior art reference that had the shortcomings of the

prior art. WO-02/067491 A1 disclosed a method for HARQ transmission that averages the bit

reliability over successively requested retransmissions by means of signal constellation

rearrangement. (Id. at col. 1: 64-67). The reference showed that when more than 2 bits of data



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        FEC is a technique used for controlling errors in data transmission over unreliable or noisy
communication channels. The general idea of FED is that a sender encodes the message in a
redundant way, most often using an error correction code. The redundancy allows the receiver to
detect a limited number of errors that may occur anywhere in the message, and to potentially
correct these errors without re-transmission.


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were mapped onto one modulation symbol, the bits have different reliability depending on the

chosen mapping. (Id. at col. 2: 1-5). For most FEC schemes, this leads to a degraded decoder

performance compared to an input of more equally distributed bit reliabilities. (Id. at col. 2:5-7).

As a result, in conventional communications systems the modulation dependent variations in bit

reliabilities are not considered and, therefore, usually the variations remain after combining the

diversity branches at the receiver. (Id. at col. 2:8-11).

       15.     The inventors therefore developed a method that improved performance with

regard to transmission errors. (Id. at col. 2:15-18). The idea of the invention is to improve

performance at the receiver by applying different signal constellation mappings to the available

distinguishable transmit diversity branches and ARQ retransmissions. (Id. at col. 2:20-23). The

invention is applicable to modulation formats in which more than 2 bits are mapped onto one

modulation symbol, since this implies a variation in reliabilities for the bits mapped onto the signal

constellation. (Id. at col. 2:23-29).

       16.     Direct Infringement. Upon information and belief, Defendant has been directly

infringing at least claim 1 of the ‘961 patent in Colorado, and elsewhere in the United States, by

performing actions comprising at least performing the claimed ARQ re-transmission method by

performing the steps of the claimed invention using the Viasat NetAgility NMR-1000 (“Accused

Instrumentality”)    (e.g.,   https://www.viasat.com/content/dam/us-site/government/documents/

1007032_NetAgility_NWR-1000_Datasheet_010-hires.pdf).

       17.     The Accused Instrumentality practices an ARQ re-transmission (e.g., HARQ

method) method in a wireless communication system (e.g., LTE network) wherein data packets

are transmitted from a transmitter (e.g., the Accused Instrumentality) to a receiver (e.g., LTE base

station) using a first transmission (e.g., HARQ transmission) and at least a second transmission




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(e.g., HARQ retransmission) based on a repeat request (e.g., HARQ retransmission request in the

form of NAK).




(E.g., https://www.viasat.com/content/dam/us-site/government/documents/1007032_NetAgility

_NWR-1000_Datasheet_010-hires.pdf).




                                              6
(E.g., http://www.techplayon.com/hybrid-automatic-repeat-request-harq-in-lte-fdd/).




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(E.g.,              https://www.etsi.org/deliver/etsi_ts/136300_136399/136302/08.00.00_60/

ts_136302v080000p.pdf).




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(E.g.,                 https://www.etsi.org/deliver/etsi_ts/136300_136399/136302/08.00.00_60/

ts_136302v080000p.pdf).

         18.   Upon information and belief, the Accused Instrumentality practices modulating

data packets at the transmitter (e.g., the Accused Instrumentality) using a first modulation scheme

(e.g., one of QPSK,16QAM and 64 QAM) to obtain first data symbols (e.g., output of modulation

block performing said first modulation scheme).




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(E.g.,              https://www.etsi.org/deliver/etsi_ts/136300_136399/136302/08.00.00_60/

ts_136302v080000p.pdf).




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(E.g.,              https://www.etsi.org/deliver/etsi_ts/136200_136299/136211/08.07.00_60/

ts_136211v080700p.pdf).




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(E.g.,                   https://www.etsi.org/deliver/etsi_ts/136200_136299/136211/08.07.00_60/

ts_136211v080700p.pdf).

         19.    The Accused Instrumentality practices performing the first transmission (e.g.,

HARQ transmission) by transmitting the first data symbols (e.g., output of modulation block

performing said first modulation scheme) over a first diversity branch to the receiver (e.g.,

mapping from assigned resource blocks to the first available number of antenna ports). The

Accused Instrumentality discloses a first diversity branch wherein the output of modulation block

i.e. first data symbols is transmitted over a first diversity branch which is indicated in case of Multi-




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antenna processing wherein mapping from assigned resource blocks to the first available number

of antenna ports.




(E.g.,http://www.techplayon.com/hybrid-automatic-repeat-request-harq-in-lte-fdd/).




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(E.g.,              https://www.etsi.org/deliver/etsi_ts/136300_136399/136302/08.00.00_60/

ts_136302v080000p.pdf).




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(E.g.,                 https://www.etsi.org/deliver/etsi_ts/136300_136399/136302/08.00.00_60/

ts_136302v080000p.pdf).

         20.   Upon information and belief, the Accused Instrumentality practices modulating

said data packets at the transmitter (e.g., the Accused Instrumentality) using a second modulation

scheme (e.g., one of QPSK, 16QAM and 64 QAM)—which is distinct from the first modulation

scheme) to obtain second data symbols (e.g., output of modulation block using a second

modulation scheme). As shown below, the Accused Instrumentality on repeat request i.e. receiving

the retransmission request in the form of NAK, enables a second mapping of said higher order

modulation scheme (i.e. an Adaptive Re-transmission having a different Modulation Coding

Scheme (MCS) than the one used for HARQ transmission i.e. first higher order modulation

scheme).



                                               15
(E.g.,http://www.techplayon.com/hybrid-automatic-repeat-request-harq-in-lte-fdd/).




                                              16
(E.g.,              https://www.etsi.org/deliver/etsi_ts/136300_136399/136302/08.00.00_60/

ts_136302v080000p.pdf).




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(E.g.,     https://www.electronics-notes.com/articles/radio/modulation/quadrature-amplitude-

modulation-types-8qam-16qam-32qam-64qam-128qam-256qam.php).




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(E.g.,              https://www.etsi.org/deliver/etsi_ts/136200_136299/136211/08.07.00_60/

ts_136211v080700p.pdf).




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(E.g.,                 https://www.etsi.org/deliver/etsi_ts/136200_136299/136211/08.07.00_60/

ts_136211v080700p.pdf).

         21.   Upon information and belief, the Accused Instrumentality practices performing the

second transmission (e.g., HARQ retransmission) by transmitting the second data symbols (e.g.,

output of modulation block using a second modulation scheme) over a second diversity branch

(e.g., mapping from assigned resource blocks to the later available number of antenna ports) to the

receiver (e.g., LTE base station). The Accused Instrumentality discloses a second diversity branch

wherein the output of modulation block i.e., second data symbols is transmitted over a second or




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later diversity branch which is indicated in case of Multi-antenna processing wherein mapping

from assigned resource blocks to the later available number of antenna ports.




(E.g., http://www.techplayon.com/hybrid-automatic-repeat-request-harq-in-lte-fdd/).




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(E.g.,              https://www.etsi.org/deliver/etsi_ts/136300_136399/136302/08.00.00_60/

ts_136302v080000p.pdf).



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(E.g.,                 https://www.etsi.org/deliver/etsi_ts/136300_136399/136302/08.00.00_60/

ts_136302v080000p.pdf).

         22.   Upon information and belief, the Accused Instrumentality , at least in its internal

testing and usage, utilizes a base station which practices demodulating the received first (e.g.,

output of modulation block performing said first modulation scheme) and second data symbols

(e.g., output of modulation block using a second modulation scheme) at the receiver (e.g., LTE

Base Station) using the first and second modulation schemes (e.g., the mappings corresponding to

transmission and retransmission Modulation Coding Scheme) respectively. As shown below, the


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Accused Instrumentality, at least in its internal testing and usage, utilizes a base station which

practices demodulation of first (e.g., output of modulation block performing said first modulation

scheme) and second data symbols (e.g., output of modulation block using a second modulation

scheme) at the LTE Base Station using the first and second modulation scheme i.e. Modulation

Coding Scheme which are distinct for transmission and Adaptive Re-transmission (i.e. an Adaptive

Re-transmission having a different Modulation Coding Scheme (MCS) than the one used for

transmission i.e. first higher order modulation scheme).




(E.g., http://www.techplayon.com/hybrid-automatic-repeat-request-harq-in-lte-fdd/).




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(E.g.,              https://www.etsi.org/deliver/etsi_ts/136300_136399/136302/08.00.00_60/

ts_136302v080000p.pdf).



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(E.g.,     https://www.electronics-notes.com/articles/radio/modulation/quadrature-amplitude-

modulation-types-8qam-16qam-32qam-64qam-128qam-256qam.php).




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(E.g.,              https://www.etsi.org/deliver/etsi_ts/136200_136299/136211/08.07.00_60/

ts_136211v080700p.pdf).




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(E.g.,                  https://www.etsi.org/deliver/etsi_ts/136200_136299/136211/08.07.00_60/

ts_136211v080700p.pdf).

         23.   Upon information and belief, The Accused Instrumentality, at least in its internal

testing and usage, utilizes a base station which practices diversity combining (e.g., Hybrid ARQ

soft-combining) the demodulated data received over the first (e.g., mapping from assigned

resource blocks to the first available number of antenna ports) and second diversity branches (e.g.,

mapping from assigned resource blocks to the later available number of antenna ports). The

Accused Instrumentality, at least in its internal testing and usage, utilizes a base station which


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performs a diversity combining i.e., Hybrid ARQ soft-combining of data from multiple received

antenna ports.




(E.g.,                https://www.etsi.org/deliver/etsi_ts/136300_136399/136302/08.00.00_60/

ts_136302v080000p.pdf).




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(E.g.,              https://www.etsi.org/deliver/etsi_ts/136300_136399/136302/08.00.00_60/

ts_136302v080000p.pdf).




                                          30
(E.g., http://www.techplayon.com/hybrid-automatic-repeat-request-harq-in-lte-fdd/).

       24.    Upon information and belief, the Accused Instrumentality utilizes the modulation

schemes wherein 16 QAM and a number of log2 (M) modulation schemes are used. The Accused

Instrumentality performs a data modulation such as QPSK, 16 QAM and 64 QAM wherein the M-

ary Quadrature Amplitude Modulation is basically a log2 (M) modulation schemes, for

example,16QAM stands for log2 (16) modulation schemes and 64 QAM stands for log2 (64)

modulation schemes.




(E.g., http://www.techplayon.com/hybrid-automatic-repeat-request-harq-in-lte-fdd/).




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(E.g., http://www.techplayon.com/hybrid-automatic-repeat-request-harq-in-lte-fdd/).




(E.g.,                https://www.etsi.org/deliver/etsi_ts/136300_136399/136302/08.00.00_60/

ts_136302v080000p.pdf).




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(E.g.,                https://www.etsi.org/deliver/etsi_ts/136300_136399/136302/08.00.00_60/

ts_136302v080000p.pdf).




(E.g., https://www.gaussianwaves.com/2012/10/constructing-a-rectangular-constellation-for-16-

qam/).




                                             33
(E.g.,      https://www.electronics-notes.com/articles/radio/modulation/quadrature-amplitude-

modulation-types-8qam-16qam-32qam-64qam-128qam-256qam.php).




(E.g.,               https://www.etsi.org/deliver/etsi_ts/136200_136299/136211/08.07.00_60/

ts_136211v080700p.pdf).




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(E.g.,                  https://www.etsi.org/deliver/etsi_ts/136200_136299/136211/08.07.00_60/

ts_136211v080700p.pdf).

                               IV. COUNT II
         (PATENT INFRINGEMENT OF UNITED STATES PATENT NO. 7,567,622)

         25.   Plaintiff incorporates the above paragraphs herein by reference.

         26.   On July 28, 2009, United States Patent No. 7,567,622 (“the ‘622 Patent”) was duly

and legally issued by the United States Patent and Trademark Office. The ‘622 Patent is titled

“Constellation Rearrangement for ARQ Transmit Diversity Schemes.” The ‘622 patent issued

from an application that is a continuation of the application leading to the ‘961 patent. A true and



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correct copy of the ‘622 Patent is attached hereto as Exhibit B and incorporated herein by

reference.

       27.      Swirlate is the assignee of all right, title, and interest in the ‘622 patent, including

all rights to enforce and prosecute actions for infringement and to collect damages for all relevant

times against infringers of the ‘622 Patent. Accordingly, Swirlate possesses the exclusive right

and standing to prosecute the present action for infringement of the ‘622 Patent by Defendant.

       28.      The ‘622 patent shares the same specification as the ‘961 patent and therefore the

background information regarding the ‘961 patent in paragraphs 11 through 15 are incorporated

by reference.

       29.      During the prosecution history, applicant explained the benefits of the claimed

invention. The claim “defines an ARQ retransmission method in which more than two data bits

are mapped onto one data symbol in each of the initial transmission and a retransmission. The

symbols of the initial transmission and the retransmission represent the same bit information, but

are different symbols due to different bit mappings. Since different bits of a modulation symbol

have different communications reliabilities, the claimed subject matter supports averaging the

communication reliabilities for each bit mapped onto a transmission symbol and a retransmission

symbol so as to improve the likelihood of receiving the bit.” (Ex. C at 16).

       30.      An advantage of the claimed subject matter “lies in reducing the overall data traffic,

since the claimed retransmission is only needed in situations where any initial transmission cannot

be successfully received by a receiver. The claimed subject matter employs retransmission and

diversity combining only when the initial transmission is not received properly, whereas [the prior

art] communications scheme always transmits identical data over three parallel paths for diversity




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combining by a receiver and does not retransmit data in accordance with a repeat request by a

receiver.” (Ex. C at 17).

       31.     Direct Infringement. Upon information and belief, Defendant has been directly

infringing at least claim 1 of the ‘622 patent in Colorado, and elsewhere in the United States, by

performing actions comprising at least performing the claimed ARQ re-transmission method by

performing the steps of the claimed invention using Viasat NMR-1000 (“Accused

Instrumentality”)   (e.g.,   https://www.viasat.com/content/dam/us-site/government/documents/

1007032_NetAgility_NWR-1000_Datasheet_010-hires.pdf).

       32.     The Accused Instrumentality practices an ARQ re-transmission method (e.g.,

HARQ method) in a wireless communication system (e.g., LTE network) wherein data packets are

transmitted from a transmitter (e.g., the Accused Instrumentality) to a receiver (e.g., LTE base

station) using a higher order modulation scheme (e.g., one of QPSK,16QAM and 64 QAM)

wherein more than two data bits are mapped onto one data symbol to perform a first transmission

and at least a second transmission (e.g., HARQ retransmission) based on a repeat request (e.g.,

HARQ retransmission request in the form of NAK). The Accused Instrumentality performs a

higher order data modulation such as 16QAM and 64 QAM wherein has more than two data bits

are mapped onto one data symbol (i.e., in case of 16QAM it transmits 4 bits per symbol whereas

in the case of 64QAM it transmits 6 bits per symbol).




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(E.g., https://www.viasat.com/content/dam/us-site/government/documents/1007032_NetAgility

_NWR-1000_Datasheet_010-hires.pdf).




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(E.g., http://www.techplayon.com/hybrid-automatic-repeat-request-harq-in-lte-fdd/).




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(E.g.,              https://www.etsi.org/deliver/etsi_ts/136300_136399/136302/08.00.00_60/

ts_136302v080000p.pdf).




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(E.g.,               https://www.etsi.org/deliver/etsi_ts/136300_136399/136302/08.00.00_60/

ts_136302v080000p.pdf).




(E.g.,      https://www.electronics-notes.com/articles/radio/modulation/quadrature-amplitude-

modulation-types-8qam-16qam-32qam-64qam-128qam-256qam.php).




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(E.g.,      https://www.electronics-notes.com/articles/radio/modulation/quadrature-amplitude-

modulation-types-8qam-16qam-32qam-64qam-128qam-256qam.php).




(E.g.,               https://www.etsi.org/deliver/etsi_ts/136200_136299/136211/08.07.00_60/

ts_136211v080700p.pdf).


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(E.g.,                 https://www.etsi.org/deliver/etsi_ts/136200_136299/136211/08.07.00_60/

ts_136211v080700p.pdf).

         33.   Upon information and belief, the Accused Instrumentality practices modulating

data packets at the transmitter (e.g., the Accused Instrumentality) using a first mapping of said

higher order modulation scheme (e.g., one of QPSK, 16QAM and 64 QAM) to obtain first data

symbols (e.g., output of modulation block performing said first modulation scheme). The Accused

Instrumentality performs a higher order data modulation such as 16QAM and 64 QAM which have

more than two data bits are mapped onto one data symbol (i.e., in case of 16QAM it transmits 4




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bits per symbol whereas in the case of 64QAM it transmits 6 bits per symbol) so as to obtain a said

first data symbols which is basically the output of the modulation block.




(E.g.,                 https://www.etsi.org/deliver/etsi_ts/136300_136399/136302/08.00.00_60/

ts_136302v080000p.pdf).




(E.g.,        https://www.electronics-notes.com/articles/radio/modulation/quadrature-amplitude-

modulation-types-8qam-16qam-32qam-64qam-128qam-256qam.php).




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(E.g.,      https://www.electronics-notes.com/articles/radio/modulation/quadrature-amplitude-

modulation-types-8qam-16qam-32qam-64qam-128qam-256qam.php).




(E.g.,               https://www.etsi.org/deliver/etsi_ts/136200_136299/136211/08.07.00_60/

ts_136211v080700p.pdf).


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(E.g.,                   https://www.etsi.org/deliver/etsi_ts/136200_136299/136211/08.07.00_60/

ts_136211v080700p.pdf).

         34.    Upon information and belief, the Accused Instrumentality practices performing the

first transmission by transmitting the first data symbols (e.g., output of modulation block

performing said first modulation scheme) over a first diversity branch to the receiver (e.g.,

mapping from assigned resource blocks to the first available number of antenna ports). The

Accused Instrumentality discloses a first diversity branch wherein the output of modulation block

i.e. first data symbols is transmitted over a first diversity branch which is indicated in case of Multi-



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antenna processing wherein mapping from assigned resource blocks to the first available number

of antenna ports.




(E.g.,                https://www.etsi.org/deliver/etsi_ts/136300_136399/136302/08.00.00_60/

ts_136302v080000p.pdf).




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(E.g., http://www.techplayon.com/hybrid-automatic-repeat-request-harq-in-lte-fdd/).




(E.g.,                https://www.etsi.org/deliver/etsi_ts/136300_136399/136302/08.00.00_60/

ts_136302v080000p.pdf).




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(E.g., http://www.techplayon.com/hybrid-automatic-repeat-request-harq-in-lte-fdd/).

       35.     Upon information and belief, the Accused Instrumentality practices performing

receiving at the transmitter (e.g., the Accused Instrumentality) the repeat request (e.g., HARQ

retransmission request in the form of NAK) issued by the receiver (e.g., LTE base station) to

retransmit the data packets in case the data packets of the first transmission have not been

successfully decoded (e.g., Error indication in the data received).




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(E.g.,                https://www.etsi.org/deliver/etsi_ts/136300_136399/136302/08.00.00_60/

ts_136302v080000p.pdf).




(E.g., http://www.techplayon.com/hybrid-automatic-repeat-request-harq-in-lte-fdd/).




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(E.g., http://www.techplayon.com/hybrid-automatic-repeat-request-harq-in-lte-fdd/).

       36.     Upon information and belief, the Accused Instrumentality practices modulating, in

response to the received repeat request (e.g., HARQ retransmission request in the form of NAK),

said data packets at the transmitter using a second mapping of said higher order modulation scheme

(e.g., one of QPSK, 16QAM and 64 QAM- which is distinct from the first modulation scheme) to

obtain second data symbols (e.g., output of modulation block using a second modulation scheme).

As shown below, the Accused Instrumentality on repeat request i.e., receiving the retransmission

request in the form of NAK, enables a second mapping of said higher order modulation scheme

(i.e. an Adaptive Re-transmission having a different Modulation Coding Scheme (MCS) than the

one used for transmission i.e. first higher order modulation scheme).




                                               51
(E.g., http://www.techplayon.com/hybrid-automatic-repeat-request-harq-in-lte-fdd/).




                                             52
(E.g.,              https://www.etsi.org/deliver/etsi_ts/136300_136399/136302/08.00.00_60/

ts_136302v080000p.pdf).



                                          53
(E.g.,     https://www.electronics-notes.com/articles/radio/modulation/quadrature-amplitude-

modulation-types-8qam-16qam-32qam-64qam-128qam-256qam.php).




(E.g.,     https://www.electronics-notes.com/articles/radio/modulation/quadrature-amplitude-

modulation-types-8qam-16qam-32qam-64qam-128qam-256qam.php).




                                           54
(E.g.,              https://www.etsi.org/deliver/etsi_ts/136200_136299/136211/08.07.00_60/

ts_136211v080700p.pdf).




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(E.g.,                 https://www.etsi.org/deliver/etsi_ts/136200_136299/136211/08.07.00_60/

ts_136211v080700p.pdf).

         37.   Upon information and belief, the Accused Instrumentality practices performing, in

response to the received repeat request (e.g., retransmission request in the form of NAK), the

second transmission (e.g., retransmission) by transmitting the second data symbols (e.g., output of

modulation block using a second modulation scheme) over a second diversity branch to the

receiver (e.g., mapping from assigned resource blocks to the later available number of antenna

ports). The Accused Instrumentality discloses a second diversity branch wherein the output of




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modulation block i.e., second data symbols is transmitted over a second or later diversity branch

which is indicated in case of Multi-antenna processing wherein mapping from assigned resource

blocks to the later available number of antenna ports.




(E.g., http://www.techplayon.com/hybrid-automatic-repeat-request-harq-in-lte-fdd/).




                                                57
(E.g.,              https://www.etsi.org/deliver/etsi_ts/136300_136399/136302/08.00.00_60/

ts_136302v080000p.pdf).



                                          58
(E.g.,                 https://www.etsi.org/deliver/etsi_ts/136300_136399/136302/08.00.00_60/

ts_136302v080000p.pdf).

         38.   Upon information and belief, the Accused Instrumentality, at least in its internal

testing and usage, utilizes a base station which practices demodulating the received first (e.g.,

output of modulation block performing said first modulation scheme) and second data symbols

(e.g., output of modulation block using a second modulation scheme) at the receiver (e.g., LTE

Base Station) using the first and second mappings (e.g., the mappings corresponding to

transmission and retransmission Modulation Coding Scheme). As shown below, the Accused


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Instrumentality, at least in its internal testing and usage, utilizes a base station which practices

demodulation of first (e.g., output of modulation block performing said first modulation scheme)

and second data symbols (e.g., output of modulation block using a second modulation scheme) at

the LTE Base Station using the first and second mappings i.e., Modulation Coding Scheme which

are distinct for transmission and Adaptive Re-transmission (i.e., an Adaptive Re-transmission

having a different Modulation Coding Scheme (MCS) than the one used for transmission i.e. first

higher order modulation scheme).




(E.g., http://www.techplayon.com/hybrid-automatic-repeat-request-harq-in-lte-fdd/).




                                                60
(E.g., http://www.techplayon.com/hybrid-automatic-repeat-request-harq-in-lte-fdd/).




(E.g.,                https://www.etsi.org/deliver/etsi_ts/136300_136399/136302/08.00.00_60/

ts_136302v080000p.pdf).




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(E.g.,               https://www.etsi.org/deliver/etsi_ts/136300_136399/136302/08.00.00_60/

ts_136302v080000p.pdf).




(E.g.,      https://www.electronics-notes.com/articles/radio/modulation/quadrature-amplitude-

modulation-types-8qam-16qam-32qam-64qam-128qam-256qam.php).




                                            62
(E.g.,      https://www.electronics-notes.com/articles/radio/modulation/quadrature-amplitude-

modulation-types-8qam-16qam-32qam-64qam-128qam-256qam.php).




(E.g.,               https://www.etsi.org/deliver/etsi_ts/136200_136299/136211/08.07.00_60/

ts_136211v080700p.pdf).




                                            63
(E.g.,                  https://www.etsi.org/deliver/etsi_ts/136200_136299/136211/08.07.00_60/

ts_136211v080700p.pdf).

         39.   Upon information and belief, the Accused Instrumentality, at least in its internal

testing and usage, utilizes a base station which practices diversity combining (e.g., Hybrid ARQ

soft-combining) the demodulated data received over the first (e.g., mapping from assigned

resource blocks to the first available number of antenna ports) and second diversity branches (e.g.,

mapping from assigned resource blocks to the later available number of antenna ports). The

Accused Instrumentality, at least in its internal testing and usage, utilizes a base station which


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performs a diversity combining i.e., Hybrid ARQ soft-combining of data from multiple received

antenna ports.




(E.g.,                https://www.etsi.org/deliver/etsi_ts/136300_136399/136302/08.00.00_60/

ts_136302v080000p.pdf).




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(E.g.,              https://www.etsi.org/deliver/etsi_ts/136300_136399/136302/08.00.00_60/

ts_136302v080000p.pdf).




                                          66
(E.g., http://www.techplayon.com/hybrid-automatic-repeat-request-harq-in-lte-fdd/).

       40.    Upon information and belief, the Accused Instrumentality, at least in its internal

testing and usage, utilizes a base station receiver wherein the first and second mapping of said

higher order modulation schemes are pre-stored in a memory table (e.g., modulation schemes are

decided by MAC Scheduler). The Accused Instrumentality performs a first higher order data

modulation such as 16QAM and 64 QAM wherein has more than two data bits are mapped onto

one data symbol (i.e., in case of 16QAM it transmits 4 bits per symbol whereas in the case of

64QAM it transmits 6 bits per symbol). The Accused Instrumentality on repeat request i.e.

receiving the retransmission request in the form of NAK, enables a second mapping of said higher

order modulation scheme (i.e., an Adaptive Re-transmission having a different Modulation Coding

Scheme (MCS) than the one used for transmission i.e., first higher order modulation scheme).




                                              67
(E.g., http://www.techplayon.com/hybrid-automatic-repeat-request-harq-in-lte-fdd/).




                                              68
(E.g.,              https://www.etsi.org/deliver/etsi_ts/136300_136399/136302/08.00.00_60/

ts_136302v080000p.pdf).




                                          69
(E.g.,               https://www.etsi.org/deliver/etsi_ts/136300_136399/136302/08.00.00_60/

ts_136302v080000p.pdf).




(E.g.,      https://www.electronics-notes.com/articles/radio/modulation/quadrature-amplitude-

modulation-types-8qam-16qam-32qam-64qam-128qam-256qam.php).




                                            70
(E.g.,      https://www.electronics-notes.com/articles/radio/modulation/quadrature-amplitude-

modulation-types-8qam-16qam-32qam-64qam-128qam-256qam.php).




(E.g.,               https://www.etsi.org/deliver/etsi_ts/136200_136299/136211/08.07.00_60/

ts_136211v080700p.pdf).


                                            71
(E.g.,                 https://www.etsi.org/deliver/etsi_ts/136200_136299/136211/08.07.00_60/

ts_136211v080700p.pdf).

         41.   Plaintiff has been damaged as a result of Defendant’s infringing conduct.

Defendant is thus liable to Plaintiff for damages in an amount that adequately compensates

Plaintiff for such Defendant’s infringement of the ‘961 Patent and ‘622 Patent, i.e., in an amount

that by law cannot be less than would constitute a reasonable royalty for the use of the patented

technology, together with interest and costs as fixed by this Court under 35 U.S.C. § 284.

         42.   On information and belief, Defendant has had at least constructive notice of the

‘961 Patent and ‘622 Patent by operation of law and marking requirements have been complied


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with. Swirlate is only asserting method claims in this complaint and as such the marking

requirements of 35 U.S.C. 287(a) do not apply and have thus been complied with. Crown

Packaging Technology, Inc. v. Rexam, Beverage Can Co., 559 F.3d 1308, 1316-1317 (Fed. Cir.

2009) (“Because Rexam asserted only the method claims of the ‘839 patent, the marking

requirement of 35 U.S.C. 287(a) does not apply.”); Hanson v. Alpine Valley Ski Area, Inc., 718

F.2d 1075, 1083 (Fed.Cir. 1983) (“It is ‘settled in the case law that the notice requirement of this

statute does not apply where the patent is directed to a process or method.” (Quoting Bandag, Inc.

v. Gerrard Tire Co., 704 F.2d 1578, 1581, 217 USPQ 977, 979 (Fed. Cir. 1983)); Intellectual

Ventures I LLC v. Symantec Corp., 2015 U.S. Dist. LEXIS 6399 *3 (D.Del. Jan. 21, 2015).

                                      IV. JURY DEMAND

       Plaintiff, under Rule 38 of the Federal Rules of Civil Procedure, requests a trial by jury of

any issues so triable by right.

                                  V. PRAYER FOR RELIEF

       WHEREFORE, Plaintiff respectfully requests that the Court find in its favor and against

Defendant, and that the Court grant Plaintiff the following relief:

       a.      Judgment that one or more claims of United States Patent No. 7,154,961 have been
               infringed, either literally and/or under the doctrine of equivalents, by Defendant;

       b.      Judgment that one or more claims of United States Patent No. 7,567,622 have been
               infringed, either literally and/or under the doctrine of equivalents, by Defendant;

       c.      Judgment that Defendant account for and pay to Plaintiff all damages to and costs
               incurred by Plaintiff because of Defendant’s infringing activities and other conduct
               complained of herein;

       d.      That Plaintiff be granted pre-judgment and post-judgment interest on the damages
               caused by Defendant’s infringing activities and other conduct complained of
               herein;

       e.      That Plaintiff be granted such other and further relief as the Court may deem just
               and proper under the circumstances.



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August 26, 2022    DIRECTION IP LAW

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